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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR17-0203-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    DARRYL KILGORE, et al.,

13                          Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This minute order acknowledges the Court’s receipt of a letter of support for Defendant
18   Darryl Kilgore, dated December 20, 2017 and attached hereto. The Clerk of the Court is
19   DIRECTED to docket the attached letter.
20          DATED this 2nd day of January 2018.
21                                                        William M. McCool
                                                          Clerk of Court
22

23                                                        s/Tomas Hernandez
                                                          Deputy Clerk
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